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 7

 8                                UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10
     ANTHONY RIGGIO, an individual,                         CASE NO.: '15CV1289 BTM JMA
11

12                                             Plaintiff,
                                                            COMPLAINT FOR DAMAGES
13   v.
14
     CALIFORNIA BUSINESS BUREAU,                            JURY TRIAL DEMANDED
15   INC., a California corporation and
     DOES 1 through 10.
16

17                                        Defendants.

18   Serve at:
19   Michael J. Sigal, Reg. Agent
     1711 South Mountain Ave.
20   Monrovia, CA 91017
21

22                       COMPLAINT AND DEMAND FOR JURY TRIAL
23
             Pursuant to the Federal Rules of Civil Procedure and this Court’s Local Rules,
24
     Anthony Riggio (“Plaintiff” or “Riggio”) alleges as follows for his complaint:
25

26   ///

27   ///
28
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                                               COMPLAINT FOR DAMAGES
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                                          INTRODUCTION
 1

 2      1. Plaintiff Anthony Riggio, through his attorneys, brings this action to challenge
 3   the actions of California Business Bureau, Inc., (“CBB” or “Defendant”), with regard
 4
     to attempts by Defendant to unlawfully and abusively collect a debt allegedly owed by
 5
     Plaintiff, and this conduct caused Plaintiff’s damage.
 6

 7      2. Plaintiff makes these allegations on information and belief, with the exception of

 8   those allegations that pertain to a plaintiff, or to plaintiffs’ counsel, which Plaintiff
 9
     alleges on personal knowledge.
10
        3. While many violations are described below with specificity, this Complaint
11

12   alleges violations of the statutes cited in their entirety.

13      4. Unless otherwise stated, all the conduct engaged in by Defendant took place in
14
     California.
15
        5. Any violations by any Defendant were done knowingly, willfully, and
16

17   intentionally, and Defendants did not maintain procedures reasonably adapted to avoid

18   any such violation.
19
                                      JURISDICTION AND VENUE
20
        6. Jurisdiction of this Court arises pursuant to general state jurisdiction.
21

22      7. This action arises out of Defendant's violations of the Fair Debt Collection

23   Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt
24
     Collection Practices Act, California Civil Code §§ 1788-1788.32 (“Rosenthal Act”).
25
        8. Plaintiff Anthony Riggio is a natural person who resides in the City of San
26
27   Diego, County of San Dego, State of California.

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        9. Plaintiff resides in San Diego County, as defined by 28 U.S.C. § 1391c(1), the
 1

 2   judicial district in which this lawsuit is brought.
 3      10. At the time of the substantial part of the events or omissions giving rise to the
 4
     claim occurred, specifically, Riggio received a phone call from CBB from its physical
 5
     office located in the City of San Diego, County of San Diego, State of California.
 6

 7      11. Because a substantial part of the events or omissions giving rise to the claim

 8   occurred in San Diego County, venue is proper pursuant to 28 U.S.C. §1391b(2).
 9
        12. At all times relevant, CBB conducted business within the State of
10
     California.
11

12                                               PARTIES

13      13. Anthony Riggio is a natural person who resides in the County of San Diego,
14
     State of California.
15
        14. Defendant California Business Bureau, Inc. is a California corporation with its
16

17   principle place of business in San Diego, California.

18      15. Plaintiff is obligated or allegedly obligated to pay a debt, and are
19
     “consumers” as that term is defined by 15 U.S.C. § 1692a(3).
20
        16. CBB is a person who uses an instrumentality of interstate commerce or the mails
21

22   in a business the principal purpose of which is the collection of debts, or who regularly

23   collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be
24
     owed or due another and is therefore a debt collector as that phrase is defined by 15
25
     U.S.C. § 1692a(6).
26
27

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        17. Riggio is a natural person from whom a debt collector sought to collect a
 1

 2   consumer debt which was due and owing or alleged to be due and owing from Riggio,
 3   and is a “debtor” as that term is defined by California Civil Code §1788.2(h).
 4
        18. Defendant, in the ordinary course of business, regularly, on behalf of itself, or
 5
     others, engages in debt collection as that term is defined by California Civil Code §
 6

 7   1788.2(b), and therefore is a debt collector as that term is defined by California Civil

 8   Code § 1788.2(c).
 9
        19. This case involves money, property or their equivalent, due or owing or alleged
10
     to be due or owing from a natural person by reason of a consumer credit transaction.
11

12          As such, this action arises out of a “consumer debt” and “consumer credit” as

13   those terms are defined by Cal. Civ. Code § 1788.2(f).
14
                                     FACTUAL ALLEGATIONS
15
                                   CALLS TO ANTHONY RIGGIO
16

17      20. Sometime before September 2014, Riggio is alleged to have incurred certain

18   financial obligations for medical services.
19
        21. These alleged financial obligations were primarily for personal, family or
20
     household purposes and are therefore a “debt” as that term is defined by 15 U.S.C. §
21

22   1692a(5).

23      22. These alleged obligations were money, property, or their equivalent, which is
24
     due or owing, or alleged to be due or owing, from a natural person to another person
25
     and are therefore individually considered a “debt” as that term is defined by California
26
27

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     Civil Code § 1788.2(d), and a “consumer debt” as that term is defined by California
 1

 2   Civil Code § 1788.2(f).
 3      23. Sometime thereafter but before around September 2014, CBB alleges that
 4
     Riggio fell behind in the payments allegedly owed on the alleged debt, even though
 5
     Riggio disputes CBB’s allegation.
 6

 7      24. Riggio has in the past and currently disputes the validity of this alleged debt that

 8   CBB has attempted collection on because, among other things, he believes that he has
 9
     fully paid for all requested medical services during the time period at issue.
10
        25. Subsequently, but before September 2014, the alleged debt was assigned,
11

12   placed, or otherwise transferred to CBB for collection.

13      26. In or around September 2014 and continuing through the date of filing this
14
     action, CBB has repeatedly telephoned Riggio on his cellular telephones, always
15
     demanding payment of the alleged debt in each and every call. Defendant placed
16

17   multiple calls per day to Riggio.

18      27. These communications to Riggio were each a “communication” as that term is
19
     defined by 15 U.S.C. § 1692a(2), and the first of which was an “initial communication”
20
     consistent with the definition of that term under 15 U.S.C. § 1692g(a).
21

22      28. Defendant’s communications fall within the definition of “debt collection” as

23   Cal. Civ. Code § 1788.2(b) defines that phrase, and the first of which was an “initial
24
     communication” consistent with the definition of that term under 15 Cal. Civ. Code §
25
     1812.700(b).
26
27

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                                     COMPLAINT FOR DAMAGES
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        29. CBB contacted Riggio through his cellular telephone during the time at issue
 1

 2   such that the calls were continuous and harassing, in violation of 15 U.S.C. § 1692d.
 3      30. Riggio never consented to allowing CBB to call his cellular telephone, which
 4
     among other things, makes Defendant’s calls to his cellular telephone all the more
 5
     harassing.
 6

 7      31. Defendant spoke with Riggio on numerous occasions, each time failing to advise

 8   him that it was a debt collector and instead stating they were representatives of CBB.
 9
        32. Defendant’s name falsely implies that CBB is vouched for, bonded by, or
10
     affiliated with the State of California as its “Business Bureau” in violation of 15 U.S.C.
11

12   § 1692e(1).

13      33. During various calls from CBB to Riggio, it repeatedly failed to inform Riggio
14
     that it (through its representatives) was a debt collector attempting to collect a debt and
15
     that any information obtained during those calls would be used for that purpose, in
16

17   violation of 15 U.S.C. § 1692e(11).

18      34. During various calls, Defendant represented that the alleged debt upon which it
19
     was collecting and that Riggio allegedly owed was accruing interest even though
20
     Riggio never agreed to allow interest or any other type of fees accrue on the medical
21

22   services for which he has already paid. Defendant’s representation violates 15 U.S.C. §

23   1692f(1).
24
        35. CBB did not send Riggio a notice of his rights to dispute the alleged debt at
25
     issue within five days of CBB’s initial communication with Riggio in violation of 15
26
27   U.S.C. § 1692g.

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           36. During at least two telephone conversations in or around September 2014, CBB
 1

 2   used the unfair, deceptive, and coercive tactic of threatening it would report the alleged
 3   debt to credit reporting bureaus if Riggio did not pay within five days of its call, thus
 4
     violating 15 USC § 1692e and overshadowing any rights under 15 USC § 1692g that
 5
     CBB may have in fact been conveyed to Riggio, if any.
 6

 7         37. During one collection call from CBB to Riggio, Riggio requested that Defendant

 8   stop calling his cell phone.
 9
           38. CBB consciously disregarded Riggio’s request, and continued calling him on his
10
     cell phone for the purposes of harassment. CBB knew Riggio did not want repeated
11

12   calls made to his cell phone, and CBB’s representative conceded as much when the

13   representative told Riggio that CBB called to give him another chance to make a
14
     payment on the account.
15
           39. Through these actions, CBB placed a telephone call without meaningful
16

17   disclosure of the caller’s identity. Consequently, Defendant violated 15 3 U.S.C. §

18   1692d(6).
19
           40. Through these actions, Defendant caused a telephone to ring or engaged a
20
     person in telephone conversations repeatedly or continuously with intent to annoy,
21

22   abuse, or harass any person at the called number. Consequently, Defendant violated 15

23   U.S.C. § 1692d(5).
24
     41.      Through these actions, Defendant caused a telephone to ring repeatedly or
25
     continuously to annoy the person called. Consequently, Defendant violated Cal. Civ.
26
27   Code § 1788.11(d). Through this conduct, Defendant communicated, by telephone or

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     in person, with Plaintiff with such frequency as to be unreasonable and to
 1

 2            constitute harassment to Plaintiff under the circumstances.           Consequently,
 3   Defendant violated Cal. Civil Code §141788.11(e).
 4
           42. Through these actions, Defendant engaged in conduct the natural consequence
 5
     of which was to harass, oppress, or abuse a person in connection with the collection of
 6

 7   a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.

 8         43. Because this violated certain portions of the federal Fair Debt Collection
 9
     Practices Act as these portions are incorporated by reference in the Rosenthal Fair Debt
10
     Collection Practices Act, through California Civil Code § 1788.17, this conduct or
11

12   omission violated Cal. Civ. Code § 1788.17.

13                                          CAUSES OF ACTION
14
                                            COUNT I
15                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                    15 U.S.C. §§ 1692 ET SEQ.
16

17         44. Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.

18         45. The foregoing acts and omissions constitute numerous and multiple violations of
19
     the FDCPA, including but not limited to each and every one of the above-cited
20
     provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
21

22         46. As a result of each and every violation of the FDCPA, Plaintiff is entitled to any

23   actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount
24
     up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s
25
     fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.
26
27   ///

28
                                                 8
                                       COMPLAINT FOR DAMAGES
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                                                COUNT II
 1

 2    ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL
                                  ACT)
 3                      CAL. CIV. CODE §§ 1788-1788.32
 4
        47. Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
 5
        48. The foregoing acts and omissions constitute numerous and multiple violations of
 6

 7   the Rosenthal Act, including but not limited to each and every one of the above-cited

 8   provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32.
 9
        49. As a result of each and every violation of the Rosenthal Act, Plaintiffs are
10
     entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
11

12   damages for a knowing or willful violation in the amount up to $1,000.00 pursuant to

13   Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs pursuant to Cal.
14
     Civ. Code § 1788.30(c).
15
                                        PRAYER FOR RELIEF
16

17         WHEREFORE, Plaintiff prays that judgment be entered against Defendant,

18   and Plaintiff be awarded damages from Defendant, as follows:
19
           a.      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
20
           b.      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
21

22   1692k(a)(2)(A);

23         c.      An award of costs of litigation and reasonable attorney’s fees, pursuant to
24
     15 U.S.C. § 1692k(a)(3);
25
           d.      An award of actual damages pursuant to California Civil Code §
26
27   1788.30(a);

28
                                              9
                                    COMPLAINT FOR DAMAGES
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            e.     An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
 1

 2   14 § 1788.30(b);
 3          f.     An award of costs of litigation and reasonable attorney’s fees, pursuant to
 4
     Cal. Civ. Code § 1788.30(c).
 5
            g.     Treble damages pursuant to California Civil Code § 3345.
 6

 7          h.     For such further relief the Court deems necessary, just and proper.

 8          Pursuant to the seventh amendment to the Constitution of the United States of
 9
     America, Plaintiffs are entitled to, and demand, a trial by jury.
10

11

12   Dated: June 10, 2015                              Respectfully Submitted,

13

14                                              __/s/_______________________________
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